                  Case 6:21-cv-01246-ADA-DTG Document 59 Filed 06/21/23 Page 1 of 1
AQ 120 (Rev. 08/10)
                             Mail Stop 8                                                       REPORT ON I HE
TO:
          Director of the U.S. Patent and Trademark Office                             FILING OR DETERMINATION OF AN
                            P.O. Box 1450                                              ACTION REGARDING A PATENT OR
                     Alexandria, VA 22313-1450                                                   TRADEMARK

                 In Compliance with 35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
         filed in the U.S. District Court                 Western District of Texas (Waco)                             on the following
       □ Trademarks or        7 Patents. ( • the patent action involves 35 U.S.C. § 292.):
DOCKET NO.                        DATE FILED                       U.S. DISTRICT COURT
     6:21-cv-01246                       11/30/2021                       ________ Western District of Texas (Waco)
PLAINTIFF                                                                  DEFENDANT
 VOIP-PAL.com.Inc.                                                           Samsung Electronics Co., Ltd et al



        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                                 In the above   intitled case, the following patent(s)/ trademark(s) have been included:
DATE INCLUDED                     INCLUDED BY
                                                   □ Amendment                 □ Answer           □ Cross Bill             □ Other Pleading
        PATENT OR                      DATE OF PATENT
                                                                                      HOLDER OF PATENT OR TRADEMARK
      TRADEMARK NO.                    OR TRADEMARK
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                      In the above—entitled case, the following decision has been rendered or judgement issued:
DECISION/JUDGEMENT
    06/21/2023 document 58 STIPULATION of Dismissal




                                                                                                                            DATE
                                                                                                                                   6/21/2023

Copy 1—Upon initiation of action, mail this copy to Director Copy 3—Upon termination of action, mail this copy to Director
Copy 2—Upon filing document adding patent(s), mail this copy to Director Copy 4—Case file copy
